             Case 1-24-01019-jmm                Doc 2       Filed 02/14/24         Entered 02/14/24 12:26:37


                                 UNITED STATES BANKRUPTCY COURT
                                      Eastern District of New York
                                  NOTE: All documents filed in this matter must be identified by both
                               adversary and bankruptcy case numbers, case chapter and judge's initials.

In re: Jones Diversity, Inc.                                                                                   Bankruptcy Case No.:
                                                                                                                 1−22−42698−jmm

Lori Lapin Jones, solely in her capacity as the Chapter 7 Trustee of the
bankruptcy estate of Jones Diversity, Inc.
                                                      Plaintiff(s),
                                                                                                           Adversary Proceeding No.
−against−                                                                                                        1−24−01019−jmm
O−H Community Partners Ltd.
Sharon Jones
                                                           Defendant(s)

                     SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                           IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint, which is attached to this
summons, to the Clerk of the Bankruptcy Court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days.

Address of Clerk:
                                                     United States Bankruptcy Court
                                                     271−C Cadman Plaza East, Suite 1595
                                                     Brooklyn, NY 11201−1800
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's Attorney:
                                                             Holly R. Holecek
                                                             LaMonica Herbst & Maniscalco LLP
                                                             3305 Jerusalem Avenue
                                                             Wantagh, NY 11793

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place.


Location:                                                                                      Date and Time:
United States Bankruptcy Court, 271−C Cadman Plaza East, Courtroom                             April 9, 2024 at 11:30 AM
3529 − 3rd Floor, Brooklyn, NY 11201−1800


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT, AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




Dated: February 14, 2024                                     Robert A. Gavin, Jr., Clerk of the Court
                Case 1-24-01019-jmm                     Doc 2    Filed 02/14/24   Entered 02/14/24 12:26:37




Summons [Summons and Notice of Pretrial Conf. rev. 05/27/2016]
